            Case 1:24-cv-00697-GSA Document 3 Filed 06/14/24 Page 1 of 2


 1

 2

 3

 4

 5

 6

 7

 8                                       UNITED STATES DISTRICT COURT

 9                            FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11    PATRICK J. BOOTH,                                    No. 2:24-cv-1629 DB P
12                          Plaintiff,
13              v.
14    TYSON POUGE,                                         ORDER
15                          Defendant.
16

17             Plaintiff, a county jail inmate proceeding pro se, has filed a civil rights action pursuant to

18   42 U.S.C. § 1983. In his complaint, plaintiff alleges violations of his civil rights by defendants.

19   The alleged violations took place in Madera County, which is part of the Fresno Division of the

20   United States District Court for the Eastern District of California. See Local Rule 120(d).

21             Pursuant to Local Rule 120(f), a civil action which has not been commenced in the proper

22   division of a court may, on the court’s own motion, be transferred to the proper division of the

23   court. Therefore, this action will be transferred to the Fresno Division of the court. In light of

24   1996 amendments to 28 U.S.C. § 1915, this court will not rule on plaintiff’s request to proceed in

25   forma pauperis.

26   ////

27   ////

28   ////
                                                           1
         Case 1:24-cv-00697-GSA Document 3 Filed 06/14/24 Page 2 of 2


 1             Good cause appearing, IT IS HEREBY ORDERED that:

 2             1. This action is transferred to the United States District Court for the Eastern District of

 3   California sitting in Fresno; and

 4             2. All future filings shall reference the new Fresno case number assigned and shall be

 5   filed at:
                                   United States District Court
 6                                 Eastern District of California
                                   2500 Tulare Street
 7                                 Fresno, CA 93721
 8
     Dated: June 14, 2024
 9

10

11   DB16
     DB/Prisoner Inbox/Civil/R/boot1629.22
12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                                              2
